                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                               WESTERN DIVISION

UNITED STATES OF AMERICA,                        )
                                                 )
                              Plaintiff,         )
                                                 )
       v.                                        )
                                                 )    CASE NO. 06-00231-03-CR-W-NKL
GARY I. MILLER                                   )
                                                 )
                              Defendant.         )

                            REPORT AND RECOMMENDATION
                             CONCERNING PLEA OF GUILTY

       The Defendant, by consent, has appeared before me pursuant to Fed.R.Crim.P. 11, Local

Rule 72(j)(26), and 28 U.S.C. § 636, and has entered a plea of guilty to Counts 1 and 5 of the

Indictment. After cautioning and examining the Defendant under oath concerning each of the

subjects mentioned in Fed.R.Crim.P. 11, I determined that the guilty pleas were knowledgeable and

voluntary as to Counts 1 and 5 of the Indictment and that the offenses charged are supported by an

independent basis in fact containing each of the essential elements of such offenses. A record was

made of the proceedings and a transcript is available. I therefore recommend that the pleas of

guilty be accepted and that the Defendant be adjudged guilty and have sentence imposed

accordingly.

       Failure to file written objections to this Report and Recommendation within ten (10) days

from the date of its service shall bar an aggrieved party from attacking such Report and

Recommendation before the assigned United States District Judge. 28 U.S.C. § 636(b)(1)(B).


                                                       s/ JOHN MAUGHMER
                                                      JOHN MAUGHMER
                                                      United States Magistrate Judge
Dated: September 4, 2007




        Case 4:06-cr-00231-NKL             Document 54     Filed 09/04/07      Page 1 of 1
